                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 
    UNITED STATES OF AMERICA,                   )
              Plaintiff,                        )
                                                )        Case No.: 16-00367-01-CR-W-GAF
    v.                                          )
                                                )        Date: October 9, 2018
    JEFFREY A. HASSENFLUG,                      )
               Defendant.                       )
 
                                        MINUTE SHEET
                                                                                              

The Honorable Gary A. Fenner, presiding at Kansas City, Missouri
Nature of Proceeding: Sentencing Hearing
Time commenced:       1:33 p.m.                   Time terminated: 1:50 p.m.
                                                                                              

                                        APPEARANCES

Plaintiff’s counsel: David Luna, AUSA
Defendant’s counsel: J.R. Hobbs, Retained
Probation officer:   Drew Brown
                                                                                              
 
PROCEEDINGS IN COURTROOM: Parties appear as indicated above. Defendant appears
in person. There are no objections to the Presentence Investigation Report that affect the
guidelines or sentence imposed. Defendant’s objection regarding language in Presentence
Investigation Report is granted. The Court adopts the Report with that change. Sentencing
recommendations presented by counsel. Allocution granted to the defendant.

SENTENCE: Defendant sentenced to the custody of the Federal Bureau of Prisons for a term
          of 90 months on Count(s) 1.

              Supervised release of 10 years w/mandatory, standard, and special conditions
              imposed.

              Fine waived. MSA of $100.00 imposed. Restitution: $15,000.00. Defendant
              provides receipts that MSA and restitution have been paid in full. Defendant
              advised of right to appeal. Defendant remanded to the custody of the U.S.
              Marshals.

              The Court recommends to the Federal Bureau of Prisons: that the defendant be
              designated to Texarkana FCI.

              Count(s) 2 and 3 dismissed on the motion of the United States.  

Court Reporter: Kathy Calvert                       Courtroom Deputy: Lisa Mitchell
 
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